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                        EXHIBIT A
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                                                              IN THE CIRCUIT COURT IN THE
                                                              ELEVENTH JUDICIAL CIRCUIT IN AND
                                                              FOR MIAMI-DADE COUNTY, FLORIDA


            MICHAEL NORRIS, et al.                            COMPLEX BUSINESS DIVISION
                  Plaintiffs,

            v.                                                CASE NO. 2022-022900-CA-01

            THOMAS BRADY et al.
                 Defendants.



                         AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL

                 “Then there’s things that have happened with Voyager and with FTX now —that’s
                 somebody running a company that’s just dumb as fu** greedy . So, what does Sam
                 Bankman do? He just, give me more, give me more, give me more, so I’m gonna
                 borrow money, loan it to my affiliated company, and hope and pretend to myself that
                 the FTT tokens that are in there on my balance sheet are gonna sustain their value.” 1

                                         – Mark Cuban, Nov. 12, 2022




                                    – Defendant Sam Bankman Fried (Former CEO, FTX)




        1
         https://www.yahoo.com/video/ftx-twitter-chaos-embarrassing-athletes-195343800.html (accessed
        December 5, 2022).
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           Plaintiffs, (1) Michael Norris, (2) Brandon Rowan, (3) Michael Livieratos, (4) Shengyun Huang,
   (5) Vijeth Shetty, and (6) Bo Yang (collectively, “Plaintiffs”, that all invested millions of dollars in
   FTX) 2, sue Defendants, all Florida residents, Tom Brady, Kevin O’Leary and David Ortiz (collectively,
   “the Florida Defendants”), who each promoted, assisted in, and actively participated in, FTX Trading
   LTD d/b/a FTX’s (“FTX Trading”) and West Realm Shires Services Inc. d/b/a FTX US’s (“FTX
   US”) (collectively, the “FTX Entities”), offer and sale of unregistered securities, in the form of
   identical Yield-Bearing Accounts (“YBAs”), seeking to recover damages, declaratory and/or injunctive
   relief stemming from the offer and sale of FTX Trading’s and FTX US’s yield-bearing cryptocurrency
   accounts.
                                            INTRODUCTION
           1.      Most experts agree that the FTX Collapse Disaster is the largest and greatest financial
   fraud in history. The new CEO of FTX, who helped wind down the prior Enron fraud, admitted that
   what he quickly uncovered in FTX to date, is worse than in the Enron Fraud. Almost $14 billion
   dollars is unaccounted for, and certainly billions of dollars have been stolen from investors across the
   globe. FTX will be involved in federal bankruptcy proceedings for many years to come and there is
   no guarantee that the victims will be able to see any recovery from those processes.
           2.      This state complaint is brought by a sampling of those individual injured investors,
   against only the Florida Defendants, who directly profited from promoting the sale of unregistered
   securities, and who all admittedly never complied with any of the FTC’s long-established federal
   regulations, requiring full disclosure for all paid endorsements, especially for touting investment
   products and, in fact, specifically for promoting cryptocurrency platforms.
           3.      One common and identical question in this case, and in many other cryptocurrency
   litigation matters, is simply whether the SEC was initially correct, in finding that all of these YBAs are
   (or are not) the sale of “unregistered securities.” Based upon this Court’s great prior experience in
   securities litigation, that question can and should be decided quickly for all of the parties, so that all
   cryptocurrency litigation can be quickly advanced and the victims (and alleged co-conspirators) have
   a clear and expedited path.



   2
    Each Named Plaintiff filed their own individual state court complaint before this Court. In an effort
   to organize and coordinate all of this litigation, Undersigned Counsel joined forces and agreed to file
   one Consolidated Amended Compliant. None of the Defendants were ever served with any of the
   original complaints and in fact, counsel for some of the defendants were told about filing of this
   Consolidated Complaint and agreed to this organized procedure.


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          4.      This question was already practically answered in the affirmative through various
   regulatory statements, guidance, and actions issued by the Securities and Exchange Commission and
   other regulatory entities. For example, the SEC could not have more clearly warned the FTX Brand
   Ambassadors than it did on November 1, 2017, in the “SEC Statement Urging Caution Around
   Celebrity Backed ICOs,” 3
          In the SEC’s Report of Investigation concerning The DAO, 4 the Commission warned
          that virtual tokens or coins sold in ICOs may be securities, and those who offer and
          sell securities in the United States must comply with the federal securities laws. Any
          celebrity or other individual who promotes a virtual token or coin that is a security
          must disclose the nature, scope, and amount of compensation received in exchange
          for the promotion. A failure to disclose this information is a violation of the anti-
          touting provisions of the federal securities laws. Persons making these
          endorsements may also be liable for potential violations of the anti-fraud provisions
          of the federal securities laws, for participating in an unregistered offer and sale of
          securities, and for acting as unregistered brokers. The SEC will continue to focus on
          these types of promotions to protect investors and to ensure compliance with the
          securities laws.
          5.      Not only that, but the SEC and state securities regulators have also targeted
   cryptocurrency brokers and exchanges just like FTX for offering almost this exact same type of
   interest-bearing account, finding that exchanges such as BlockFi, 5 Voyager, 6 and Celsius 7 all offered
   these same accounts as unregistered securities.
          6.      These individual Plaintiffs seek a Declaratory Ruling by this Court, on two specific and
   very narrow issues, whose focus is solely objective: (1) should the FTX YBA’s, that were identical and
   provided to every FTX investor, be considered “securities”, under the applicable Howey test, and (2)
   whether the Florida Defendants violated state consumer laws by failing to abide by any of the FTC
   long established rules and regulations, specifically on what is required for a celebrity endorsement of


   3
           https://www.sec.gov/news/public-statement/statement-potentially-unlawful-promotion-icos
   (accessed December 5, 2022).
   4
     https://www.sec.gov/litigation/investreport/34-81207.pdf (accessed December 5, 2022)
   5
     https://www.sec.gov/news/press-release/2022-26 (accessed December 5, 2022).
   6
              https://coingeek.com/6-us-regulators-crackdown-on-voyager-digital-over-interest-bearing-
   accounts/ (accessed December 5, 2022).
   7

   https://www.google.com/url?sa=t&rct=j&q=&esrc=s&source=web&cd=&cad=rja&uact=8&ved
   =2ahUKEwjvjNvg27j7AhWfRTABHfwzDe4QFnoECAsQAQ&url=https%3A%2F%2Fwww.nj.go
   v%2Foag%2Fnewsreleases21%2FCelsius-Order-9.17.21.pdf&usg=AOvVaw0Zd94fuhFSsOoGKM-
   vQ3YI (accessed December 5, 2022).


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   crypto currency. The answer to just these two, narrow questions will greatly advance litigation across
   the globe relating to the FTX Disaster, help determine who may be liable for aiding and abetting this
   massive fraud, one way or another and may also help advance (for either side) all of the other pending
   massive litigation, against other cryptocurrency platforms (such as Voyager) that offered similar YBAs.
           7.      It is important to note that Claims in this case provide for strict liability, and therefore
   if these YBAs are found to be “securities,” all of the FTX “brand ambassadors” may not have any
   defense to the claims in this action. The “caveat emptor” defense that Defendants and others are
   pushing in the press will have no application. Plaintiffs intend to seek an expedited ruling, by way of
   partial summary judgment or otherwise, that these YBAs legally qualify as “securities,” 20 days after
   filing this complaint or sooner as allowed by applicable law.
           8.      It must be repeated that this is not a case where Plaintiffs made a “risky” investment
   in any stock or cryptocurrency, or that they lost money speculating on various cryptocurrency projects.
   Plaintiffs’ claim arises simply from the purchase of a YBA, an interest account with FTX that every
   customer who signed up for the FTX app received by default, and which, as explained below, was
   guaranteed to generate attractive, interest returns on their significant holdings in the account,
   regardless of whether those assets were held as USD or cryptocurrency, and regardless of whether any
   trades were ever made with the assets held in the YBA. In other words, the YBA was portrayed to be
   better (with more interest) and safer than a bank account (because they had many billions in reserve),
   something that was “very safe” and “protected.” That is the specific narrative that Defendants pushed
   in promoting the offer and sale of these YBAs, which are unregistered securities. For that, the Florida
   Defendants are liable for Plaintiffs’ losses, jointly and severally and to the same extent as if they were
   themselves the FTX Entities.
           9.      Literally overnight, Plaintiffs’ assets held in their YBAs on the Deceptive FTX
   Platform were robbed from them as FTX imploded and former-CEO, Sam Bankman-Fried, filed a
   Chapter 11 bankruptcy petition in Delaware on an emergency basis. This happened because, as
   explained by the new CEO of the failed FTX Entities:
                   I have over 40 years of legal and restructuring experience. I have been the
           Chief Restructuring Officer or Chief Executive Officer in several of the largest
           corporate failures in history. I have supervised situations involving allegations of
           criminal activity and malfeasance (Enron). I have supervised situations involving novel
           financial structures (Enron and Residential Capital) and cross-border asset recovery
           and maximization (Nortel and Overseas Shipholding). Nearly every situation in which
           I have been involved has been characterized by defects of some sort in internal
           controls, regulatory compliance, human resources and systems integrity.



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                   Never in my career have I seen such a complete failure of corporate controls
           and such a complete absence of trustworthy financial information as occurred
           here. From compromised systems integrity and faulty regulatory oversight abroad, to
           the concentration of control in the hands of a very small group of inexperienced,
           unsophisticated and potentially compromised individuals, this situation is
           unprecedented .
   See In re: FTX Trading Ltd, et al., No. 22-11068 (JTD), ECF No. 24, ¶¶ 4–5 (D. Del. Nov. 17, 2022)
   (emphasis added).
           10.     This should not have happened. Not to any of these Plaintiffs, and not to the
   thousands of other FTX customers who now find themselves in the same predicament.
           11.     The Cryptocurrency National Disaster is growing by the billions almost every day.
   More crypto companies are filing new federal bankruptcy petitions each day, all running for protection
   from the billions of dollars of losses they directly caused to thousands of investors here in Florida and
   across the country. This is by far the largest securities national disaster, greatly surpassing the Madoff
   Ponzi Scheme, and could very likely become a complex national litigation disaster, similar to how the
   hundreds of thousands of asbestos cases swamped all courts across the country. Unless a workable,
   coordinated, and organized structure is established now, at the very onset of these proceedings, here
   in Miami, which served as the epicenter for the crypto fraud, the FTX victims will continue to suffer
   and the only people to benefit will be the professionals in the bankruptcy and civil courts.
           12.     One common and identical question in this case, and in many other cryptocurrency
   litigation matters, is simply whether the SEC was initially correct, in finding that all of these YBAs are
   (or are not) the sale of “unregistered securities.” Based upon this Court’s great prior experience in
   securities litigation, that question can and should be decided quickly for all of the parties, so that all
   cryptocurrency litigation can be quickly advanced and the victims (and alleged co-conspirators) have
   a clear and expedited path.
           13.     The Deceptive and failed FTX Platform emanated from Miami, Florida (FTX moved
   its Global Headquarters from Bahamas to Miami) and was based upon false representations and
   deceptive conduct. Although many incriminating FTX emails and texts have already been destroyed,
   we located them and they evidence how FTX’s fraudulent scheme was designed to take advantage of
   unsophisticated investors from across the country, who utilize mobile apps to make their investments.
   As a result, American consumers collectively sustained at least over $11 billion dollars in damages.
   FTX organized and emanated its fraudulent plan from its worldwide headquarters located here in
   Miami, Florida. Miami became the “hot spot” for crypto companies, hosting the most investments in



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   crypto startups as well as the annual Bitcoin Miami 2022 Global Forum. Several crypto companies,
   including crypto exchange Blockchain.com, Ripple and FTX.US, moved their headquarters to Miami.
   Others, including fellow exchange eToro, expanded their U.S. presence with offices in Miami. FTX
   was already very familiar with Miami, signing a deal worth more than $135 million dollars for the
   naming rights of the waterfront arena, where 3-time NBA Champions the Miami Heat play.

                                           FACTUAL BACKGROUND
           14.     On December 24, 2021, Plaintiffs’ counsel brought the first (and only) putative
   nationwide class action complaint against the now-defunct cryptocurrency trading app, Voyager, styled
   Mark Cassidy v. Voyager Digital Ltd., et al., Case No. 21-24441-CIV-ALTONAGA/Torres (the “Cassidy
   Action”), alleging that the platform owned and operated by Voyager Digital Ltd. (“Voyager”) and
   Voyager Digital LLC (“VDL”) was an unregulated and unsustainable fraud. In the Cassidy Action,
   Plaintiffs also alleged that Defendant Ehrlich, Voyager’s CEO, teamed up with Defendants Cuban
   and the Dallas Mavericks to promote Voyager, by making false representations and employing other
   means of deception. As a result, the Voyager plaintiff and Voyager class members, all sustained losses
   in excess of $5 billion.
           15.     The allegations in the Cassidy complaint—and specifically Mark Cuban’s role in
   promoting Voyager—received national attention. See https://www.jdsupra.com/legalnews/new-
   lawsuits-target-cryptocurrency-9604406/ (summarizing the allegations and explaining that “Mark
   Cuban, owner of the NBA’s Dallas Mavericks, is a major stakeholder in Voyager. The complaint
   alleges that he made comments at a press conference in which he specifically targeted unsophisticated
   investors ‘with false and misleading promises of reaping large profits in the cryptocurrency market.’”);
   https://www.law.com/dailybusinessreview/2021/12/29/mark-cuban-linked-crypto-platform-hit-
   with-florida-nationwide-class-action-lawsuit-in-miami-federal-court/?slreturn=20220701214901
   (same, in the Daily Business Review).
           16.     After the Cassidy Complaint was filed, the following important actions took place:

                   (a)        the United States Securities and Exchange Commission (SEC) began
                              an enforcement review focused on whether Voyager’s Earn Program
                              Accounts (“EPAs”) constitute unregistered securities;
                   (b)        seven state Attorneys General (New Jersey, Alabama, Kentucky,
                              Oklahoma, Texas, Vermont and Washington) took specific action
                              finding that Voyager was violating their state laws, including issuing
                              “cease and desist” letters to Voyager, finding that the EPA was an


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                              unregistered security, prohibiting the crypto-asset broker-dealer from
                              selling any more unregistered securities (finding that Voyager used
                              these EPAs to raise millions of dollars in revenue worldwide as of
                              March 1, 2022; and
                   (c)        on March 29, 2002, the State of New Jersey Bureau of Securities
                              entered a Cease and Desist Order against Voyager, finding that the
                              EPA was not exempt from registration under the law, and instead that
                              it must be registered—and as a result, Voyager’s stock price tanked by
                              25% in a day and is down over 80% for the year. 8
           17.     On July 5, 2022, Voyager Digital Holdings, Inc. and two affiliated debtors
   (collectively, the “Debtors”) filed voluntary petitions for relief under chapter 11 of Title 11 of the
   United States Code. Voyager’s bankruptcy cases (the “Voyager Bankruptcy Cases”) are jointly
   administered under Case No. 22-10943 before the Honorable Michael E. Wiles in the United States
   Bankruptcy Court for the Southern District of New York (the “Bankruptcy Court”).
           18.     On September 28, 2022, Voyager filed a motion in the Voyager Bankruptcy Cases
   seeking authority to enter into an asset purchase agreement with West Realm Shires Inc., d/b/a FTX
   US whereby Voyager will sell substantially all of its assets for a purchase price of approximately $1.422
   billion, which includes (i) the value of cryptocurrency on the Voyager platform as of a date to be
   determined, which, as of September 26, 2022, is estimated to be $1.311 billion, plus (ii) additional
   consideration which is estimated to provide at least approximately $111 million of incremental value
   to the Debtors’ estates.
           19.     Everyone involved in the Voyager Bankruptcy Cases thought that the FTX Entities
   were the deus ex machina come to save the day by bailing out Voyager and paying back at least some of
   the losses the Voyager customers sustained.
           20.     Instead, as explained below, the FTX Entities imploded, their over $30 billion in value
   evaporated almost overnight, and the FTX Entities found themselves filing their own emergency
   Chapter 11 bankruptcy petition in Delaware. The Deceptive FTX Platform maintained by the FTX
   Entities was truly a house of cards, a Ponzi scheme where the FTX Entities shuffled customer funds
   between their opaque affiliated entities, using new investor funds obtained through investments in the
   YBAs and loans to pay interest to the old ones and to attempt to maintain the appearance of liquidity.


   8
    https://seekingalpha.com/article/4498956-voyager-digital-plunged-25-percent-heres-why (accessed
   October 28, 2022); https://seekingalpha.com/article/4503716-voyager-digital-buy-dip-during-
   crypto-crash (accessed December 5, 2022).


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          21.     Part of the scheme employed by the FTX Entities involved utilizing some of the
   biggest names in sports and entertainment—like these Defendants—to raise funds and drive
   American consumers to invest in the YBAs, which were offered and sold largely from the FTX
   Entities’ domestic base of operations here in Miami, Florida, pouring billions of dollars into the
   Deceptive FTX Platform to keep the whole scheme afloat.
          22.     Importantly, although Defendants disclosed their partnerships with the FTX Entities,
   they have never disclosed the nature, scope, and amount of compensation they personally received in
   exchange for the promotion of the Deceptive FTX Platform, which the SEC has explained that a
   failure to disclose this information would be a violation of the anti-touting provisions of the federal
   securities laws. 9 Moreover, none of these defendants performed any due diligence prior to marketing
   these FTX products to the public.
          23.     The SEC took action against boxing champ Floyd Mayweather and music producer
   DJ Khaled after they were paid by cryptocurrency issuers to tweet promotional statements about
   investing in Initial Coin Offerings (ICOs), ordering them both to pay disgorgement, penalties and
   interest for promoting investments in ICOs, including one from cryptocurrency issuer Centra Tech,
   Inc, for a combined total of $767,500 because they failed to disclose that their promotional efforts on
   Twitter were paid endorsements. 10
          24.     Other celebrities similarly accused and prosecuted for failing to disclose their paid
   endorsements include Kim Kardashian and basketball player Paul Pierce. 11 According to the Federal
   Trade Commission, cryptocurrency scams have increased more than ten-fold year-over-year with
   consumers losing more than $80 million since October 2020, due in large part to the use of such
   celebrity endorsements. 12
          25.     As explained more fully in this Complaint, Defendants’ misrepresentations and
   omissions made and broadcast around the country through the television and internet render them

   9
               https://www.ubergizmo.com/2017/11/sec-celebrities-disclose-payment-cryptocurrency-
   endorsements/#:~:text=It%20has%20issued%20a%20statement%20warning%20celebrities%20tha
   t,without%20disclosing%20that%20they%E2%80%99ve%20been%20paid%20for%20it (accessed
   December 5, 2022).
   10
                    https://news.bloomberglaw.com/us-law-week/insights-celebrity-endorsements-and-
   cryptocurrency-a-cautionary-tale (accessed December 5, 2022).
   11
            https://blockbulletin.com/news/altcoins/kim-kardashian-among-other-celebrities-sued-for-
   promoting-cryptocurrencies/ (accessed December 5, 2022).
   12
      https://florida.foolproofme.org/articles/770-celebrity-cryptocurrency-scam (accessed December
   5, 2022).


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   liable to Plaintiffs and all other FTX customers for soliciting their purchases of the unregistered YBAs.
   Wildes v. Bitconnect Int’l PLC, No. 20-11675 (11th Cir. Feb. 18, 2022) (holding that promoters of
   cryptocurrency through online videos could be liable for soliciting the purchase of unregistered
   securities through mass communication, and no “personal solicitation” was necessary for solicitation
   to be actionable).
           26.     This action seeks to hold Defendants responsible for Plaintiffs’ damages and for the
   Court to decide the legal question of whether: (1) the YBA offered and sold to Plaintiffs—the same
   one offered and sold to millions of other Americans for collectively billions of dollars—constituted
   an unregistered security, and whether (2) the FTX Florida Defendants (the FTX Brand Ambassadors)
   violated the Florida consumer protection statute, by violating the long standing FTC (and other)
   federal and state regulations, on the requirements for touting investment products through celebrity
   endorsements.
                                                 PARTIES
           27.     Plaintiff Michael Norris is the Plaintiff that filed the original Complaint before this
   Court. He is a citizen and resident of the State of New Jersey. He is a natural person over the age of
   21 and is otherwise sui juris. Plaintiff Norris purchased an unregistered security from FTX in the form
   of a YBA and funded the account with sufficient assets to earn interest on his holdings. Plaintiff Norris
   did so after being exposed to some or all of Defendants’ misrepresentations and omissions regarding
   the Deceptive FTX Platform, as detailed in this complaint, and purchased the YBA and/or executed
   trades on the Deceptive FTX Platform in reliance on those misrepresentations and omissions. As a
   result, Plaintiff Norris has sustained damages for which Defendants are liable.
           28.     Plaintiff Brandon Rowan is a citizen and resident of the State of Tennessee. He is a
   natural person over the age of 21 and is otherwise sui juris. Plaintiff Rowan purchased an unregistered
   security from FTX in the form of a YBA and funded the account with sufficient assets to earn interest
   on his holdings. Plaintiff Rowan did so after being exposed to some or all of Defendants’
   misrepresentations and omissions regarding the Deceptive FTX Platform, as detailed in this
   complaint, and purchased the YBA and/or executed trades on the Deceptive FTX Platform in reliance
   on those misrepresentations and omissions. As a result, Plaintiff Rowan has sustained damages for
   which Defendants are liable.
           29.     Plaintiff Michael Livieratos is a citizen and resident of the State of Connecticut. He is
   a natural person over the age of 21 and is otherwise sui juris. Plaintiff Livieratos purchased an
   unregistered security from FTX in the form of a YBA and funded the account with sufficient assets


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   to earn interest on his holdings. Plaintiff Livieratos did so after being exposed to some or all of
   Defendants’ misrepresentations and omissions regarding the Deceptive FTX Platform, as detailed in
   this complaint, and purchased the YBA and/or executed trades on the Deceptive FTX Platform in
   reliance on those misrepresentations and omissions. As a result, Plaintiff Livieratos has sustained
   damages for which Defendants are liable.
              30.   Plaintiff Shengyun Huang is a citizen and resident of the State of Virginia. He is a
   natural person over the age of 21 and is otherwise sui juris. Plaintiff Huang purchased an unregistered
   security from FTX in the form of a YBA and funded the account with sufficient assets to earn interest
   on his holdings. Plaintiff Huang did so after being exposed to some or all of Defendants’
   misrepresentations and omissions regarding the Deceptive FTX Platform, as detailed in this
   complaint, and purchased the YBA and/or executed trades on the Deceptive FTX Platform in reliance
   on those misrepresentations and omissions. As a result, Plaintiff Huang has sustained damages for
   which Defendants are liable.
              31.   Plaintiff Vijeth Shetty was at all relevant times a citizen and resident of the State of
   Florida. He is a natural person over the age of 21 and is otherwise sui juris. Plaintiff Shetty purchased
   an unregistered security from FTX in the form of a YBA and funded the account with sufficient assets
   to earn interest on his holdings. Plaintiff Shetty did so after being exposed to some or all of
   Defendants’ misrepresentations and omissions regarding the Deceptive FTX Platform, as detailed in
   this complaint, and purchased the YBA and/or executed trades on the Deceptive FTX Platform in
   reliance on those misrepresentations and omissions. As a result, Plaintiff Shetty has sustained damages
   for which Defendants are liable.
              32.   Plaintiff Bo Yang is a citizen and resident of the State of Florida. She is a natural person
   over the age of 21 and is otherwise sui juris. Plaintiff Yang purchased an unregistered security from
   FTX in the form of a YBA and funded the account with sufficient assets to earn interest on her
   holdings. Plaintiff Yang did so after being exposed to some or all of Defendants’ misrepresentations
   and omissions regarding the Deceptive FTX Platform, as detailed in this complaint, and purchased
   the YBA and/or executed trades on the Deceptive FTX Platform in reliance on those
   misrepresentations and omissions. As a result, Plaintiff Yang has sustained damages for which
   Defendants are liable.
              33.   Defendant Thomas Brady, NFL quarterback currently playing for the Tampa Bay
   Buccaneers, is a brand ambassador of FTX, and is a citizen and resident of Miami-Dade County,
   Florida.


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           34.       Defendant Kevin O’Leary, “Mr. Wonderful,” a businessman, television personality
   appearing regularly on Shark Tank, and brand ambassador for FTX, is a citizen and resident of Miami
   Beach, Florida.
           35.       Defendant David Ortiz, former designated hitter and first baseman in the MLB and a
   brand ambassador for FTX, is a citizen and resident of the State of Florida.
                                      JURISDICTION AND VENUE
           36.       This action seeks, among other things, an expedited declaratory ruling for deciding the
   legal question of whether the YBA offered and sold to Plaintiffs—the same, exact one offered and
   sold to millions of other Americans for collectively billions of dollars—constituted an unregistered
   security. Accordingly, this action is well within the exclusive plenary jurisdiction of the Circuit Court
   as the amount in controversy far exceeds $30,000.00, exclusive of interest, costs and attorney’s fees.
   Moreover, assignment to the Complex Business Litigation Division is proper because the amount in
   controversy far exceeds $1 million and involves complex issues.
           37.       This Court has personal jurisdiction against Defendants because they are all admittedly
   Florida residents, who also conduct business in Florida, and/or have otherwise intentionally availed
   themselves of the Florida consumer market through the promotion, marketing, and sale of FTX’s
   YBAs in Florida, which constitutes committing a tortious act within the state of Florida. Defendants
   have also marketed and participated and/or assisted in the sale of FTX’s unregistered securities to
   consumers in Florida. This purposeful availment renders the exercise of jurisdiction by this Court over
   Defendants permissible under traditional notions of fair play and substantial justice.
           38.       Venue is proper in this District pursuant to sections 47.011 and 47.051 because
   Defendants reside in this District; Defendants engaged in business in this District; and a substantial
   part of the events or omissions giving rise to the claims at issue occurred in this District.
           39.       All conditions precedent to the institution and maintenance of this action have been
   performed, excused, waived, or have otherwise occurred.

                                        FACTUAL ALLEGATIONS
   A.      Background on FTX.
           40.       Until seeking the protection of the Bankruptcy Court, the FTX Entities operated a
   multi-billion-dollar mobile application cryptocurrency investment service (the “Deceptive FTX
   Platform”) that placed cryptocurrency trade orders on behalf of users like Plaintiffs and offered
   interest bearing cryptocurrency accounts.



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           41.     The FTX group of companies (FTX Group or FTX) was founded in 2019 and began
   as an exchange or marketplace for the trading of crypto assets. FTX was established by Samuel
   Bankman-Fried, Gary (Zixiao) Wang and Nishad Singh, with operations commencing in May 2019.
   FTX was purportedly established in order to build a digital asset trading platform and exchange for
   the purpose of a better user experience, customer protection, and innovative products. FTX built the
   FTX.com exchange to develop a platform robust enough for professional trading firms and intuitive
   enough for first-time users.
           42.     Prior to that, The Silicon Valley-born, MIT-educated Bankman-Fried, also known as
   SBF, launched his crypto trading firm, Alameda Research, in 2017, 13 after stints in the charity world
   and at trading firm Jane Street. 14
           43.     The FTX.com exchange was extremely successful since its launch. This year around
   $15 billion of assets are traded daily on the platform, which now represents approximately 10% of
   global volume for crypto trading. The FTX team has grew to over 300 globally. Although the FTX
   Entities’ primary international headquarters is in the Bahamas, its domestic US base of operations is
   located in Miami, Florida. 15
           44.     FTX quickly became one of the most utilized avenues for nascent investors to
   purchase cryptocurrency. By the time FTX filed for bankruptcy protection, customers had entrusted
   billions of dollars to it, with estimates ranging from $10-to-$50 billion dollars .
           45.     Bankman-Fried got rich off FTX and Alameda, with the two companies netting $350
   million and $1 billion in profit, respectively, in 2020 alone, according to Bloomberg.
           46.     At his peak, Bankman-Fried was worth $26 billion. At 30, he had become a major
   political donor, gotten celebrities like the Co-Defendants in this action to vociferously promote FTX,
   and secured the naming rights to the arena where the NBA’s Miami Heat play. 16




   13
           https://www.businessinsider.com/ftx-crypto-king-sam-bankman-fried-rise-and-fall-2022-11
   (accessed December 5, 2022).
   14
       https://www.businessinsider.com/ftx-sbf-crypto-saga-explained-what-happened-what-it-means-
   2022-11?inline-endstory-related-recommendations= (accessed December 5, 2022).
   15
              https://www.coindesk.com/business/2022/09/27/crypto-exchange-ftx-is-moving-its-us-
   headquarters-from-chicago-to-miami/ (accessed December 5, 2022).
   16
       https://www.businessinsider.com/ftx-sbf-crypto-saga-explained-what-happened-what-it-means-
   2022-11?inline-endstory-related-recommendations= (accessed December 5, 2022).


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           47.      In early November 2022, crypto publication CoinDesk released a bombshell report
   that called into question just how stable Bankman-Fried’s empire really was. 17
           48.      Bankman-Fried’s cryptocurrency empire was officially broken into two main parts:
   FTX (his exchange) and Alameda Research (his trading firm), both giants in their respective industries.
   But even though they are two separate businesses, the division breaks down in a key place: on
   Alameda’s balance sheet, which was full of FTX – specifically, the FTT token issued by the exchange
   that grants holders a discount on trading fees on its marketplace. While there is nothing per se
   untoward or wrong about that, it shows Bankman-Fried’s trading giant Alameda rests on a foundation
   largely made up of a coin that a sister company invented, not an independent asset like a fiat currency
   or another crypto. The situation adds to evidence that the ties between FTX and Alameda are
   unusually close. 18
           49.      After obtaining this information, Changpeng “CZ” Zhao, the CEO of Binance,
   decided to liquidate roughly $530 million-worth of FTT. Customers also raced to pull out, and FTX
   saw an estimated $6 billion in withdrawals over the course of 72 hours, which it struggled to fulfill. 19
   The value of FTT plunged 32%, but rallied once again with Bankman-Fried’s surprise announcement
   on Tuesday, November 8th, that Binance would buy FTX, effectively bailing it out. 20
           50.      The next day, Binance announced that it was withdrawing from the deal, citing findings
   during due diligence, as well as reports of mishandled customer funds and the possibility of a federal
   investigation. 21 The news sent FTT plunging even further — Bankman-Fried saw 94% of his net




   17
       https://www.businessinsider.com/ftx-sbf-crypto-saga-explained-what-happened-what-it-means-
   2022-11?inline-endstory-related-recommendations= (accessed December 5, 2022).
   18
           https://www.coindesk.com/business/2022/11/02/divisions-in-sam-bankman-frieds-crypto-
   empire-blur-on-his-trading-titan-alamedas-balance-sheet/ (accessed December 5, 2022).
   19
        https://markets.businessinsider.com/news/currencies/ftx-6-billion-withdrawals-72-hours-sam-
   bankman-fried-binance-2022-11 (accessed December 5, 2022).
   20
        https://markets.businessinsider.com/news/currencies/ftx-6-billion-withdrawals-72-hours-sam-
   bankman-fried-binance-2022-11 (accessed December 5, 2022).
   21
         https://markets.businessinsider.com/news/currencies/ftx-crash-sec-cftc-probes-asset-liability-
   shortfall-6-billion-2022-11 (accessed December 5, 2022).


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   worth wiped out in a single day. 22 On November 11th, unable to obtain a bailout, FTX filed for
   Chapter 11 bankruptcy and Bankman-Fried resigned as CEO. 23
          51.     Following his resignation, Bankman-Fried issued a 22-tweet-long explanation of where
   he believed he and the FTX Entities went wrong: 24




   22
       https://www.businessinsider.com/ftx-ceo-crypto-binance-sam-bankman-fried-wealth-wiped-out-
   2022-11 (accessed December 5, 2022).
   23
         https://markets.businessinsider.com/news/currencies/ftx-bankruptcy-sam-bankman-fried-ceo-
   crypto-binance-alameda-markets-2022-11 (accessed December 5, 2022).
   24
      https://twitter.com/SBF_FTX/status/1590709189370081280 (accessed December 5, 2022).


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           52.        According to a recent Reuters report, however, another explanation contributing to
   the precarious house of cards that was the Deceptive FTX Platform is that earlier this year, Bankman-
   Fried secretly transferred at least $4 billion in customer funds from FTX to Alameda without telling
   anyone, after Alameda was hit with a series of losses, and that the FTX entities lent more than half of
   its $16 billion in customer funds to Alameda in total, with more than $10 billion in loans
   outstanding . 25
   B.      FTX’s offer and sale of YBAs, which are unregistered securities.
           53.        Beginning in 2019, the FTX Entities began offering interest-bearing cryptocurrency
   accounts to public investors. Plaintiffs and other similarly situated individuals invested in FTX’s YBAs.
           54.        FTX maintains that it does not offer for sale any product that constitutes a “security”
   under federal or state law. Under federal securities laws as construed by the United States Supreme
   Court in its decision SEC v. W.J. Howey Co., 328 U.S. 293 (1946) and by the SEC, an investment
   contract is a form of security under United States securities laws when (1) the purchaser makes an
   investment of money or exchanges another item of value (2) in a common enterprise (3) with the
   reasonable expectation of profits to be derived from the efforts of others.
           55.        The YBAs were “securities” as defined by the United States securities laws and as
   interpreted by the Supreme Court, the federal courts, and the SEC. The FTX Entities offered variable
   interest rewards on crypto assets held in the YBAs on the Deceptive FTX Platform, which rates were
   determined by the FTX Entities in their sole discretion. In order to generate revenue to fund the
   promised interest, the FTX Entities pooled the YBA assets to engage in lending and staking activities
   from which they derived revenue to pay interest on the YBAs. These activities make the YBAs a
   “security” under state and federal law.


   25
        https://markets.businessinsider.com/news/currencies/ftx-crash-client-funds-alameda-binance-
   sbf-sec-cftc-probe-2022-11?utm_medium=ingest&utm_source=markets (accessed December 5,
   2022).


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           56.     On October 14, 2022, Director of Enforcement of the Texas State Securities Board,
   Joseph Rotunda, filed a declaration in the Chapter 11 bankruptcy proceedings pending in connection
   with the collapse of the Voyager Digital cryptocurrency exchange, In re: Voyager Digital Holdings, Inc., et
   al., Case No. 22-10943 (MEW), ECF No. 536 (Bankr. S.D.N.Y. Oct. 14, 2022), in which he explained
   how the YBAs are in fact “an offering of unregistered securities in the form of yield-bearing accounts
   to the residents of the United States.” Id., at 6. In his declaration, the pertinent portions of which are
   reproduced in full for ease of reference, Rotunda explains:
                   I am also familiar with FTX Trading LTD (“FTX Trading”) dba FTX as described
           herein. As more fully explained throughout this declaration, I am aware that FTX Trading,
           along with West Realm Shires Services Inc. dba FTX US (“FTX US”), may be offering
           unregistered securities in the form of yield-bearing accounts to residents of the United States.
           These products appear similar to the yield-bearing depository accounts offered by Voyager
           Digital LTD et al., and the Enforcement Division is now investigating FTX Trading, FTX US,
           and their principals, including Sam Bankman-Fried.

                   I understand that FTX Trading is incorporated in Antigua and Barbuda and
           headquartered in the Bahamas. It was organized and founded in part by Mr. Bankman-Fried,
           and FTX Trading appears to be restricting operations in the United States. For example,
           domestic users accessing the webpage for FTX Trading at ftx.com are presented with a pop-up
           window that contains a disclaimer that reads in part as follows:

                           Did you mean to go to FTX US? FTX US is a US licensed
                   cryptocurrency exchange that welcomes American users.
                           You’re accessing FTX from the United States. You won’t be able to use
                   any of FTX.com’s services, though you’re welcome to look around the site.
                   FTX US claims to be regulated as a Money Services Business with FinCEN (No.
           31000195443783) and as a money transmitter, a seller of payment instruments and in other
           non-securities capacities in many different states. It is not, however, registered as a money
           transmitter or in any other capacity with the Texas Department of Banking and it is not
           registered as a securities dealer with the Texas State Securities Board.

                   FTX US owns 75 percent or more of the outstanding equity of FTX Capital Markets
           (CRD No. 158816) (“FTX Capital”), a firm registered as a broker-dealer with the United States
           Securities and Exchange Commission, the Financial Industry Regulatory Authority Inc., and
           53 state and territorial securities regulators. FTX Capital’s registration as a dealer in Texas
           became effective on May 7, 2012, and the registration continues to remain in force and effect.




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                  FTX US maintains a website at https://ftx.us that contains a webpage for smartphone
          applications for FTX (formerly Blockfolio) 26 (the “FTX Trading App”) and FTX US Pro. Users
          appear able to click a link in this webpage to download the FTX Trading App even when they
          reside in the United States.

                  On October 14, 2022, I downloaded and installed the FTX Trading App on my
          smartphone. I created an account with FTX Trading through the FTX Trading App and linked
          the FTX account to an existing personal bank account. During the process, I provided my full
          first and last name and entered my residential address in Austin, Texas. I also accessed
          hyperlinks in the FTX Trading App that redirected to the Privacy Policy and Terms of Service.
          Although I was from the United States and was using the application tied to FTX Trading, the
          Privacy Policy and Terms of Service were from FTX US - not FTX Trading.
                  I thereafter used the FTX Trading App to initiate the transfer of $50.00 from my bank
          account to the FTX account and then transferred .1 ETH from a 3.0 wallet to the FTX account.
          The transfer of funds from my bank account to the FTX account will take up to six days to
          complete but the transfer of ETH was processed within a few minutes.

                  The FTX Trading App showed that I was eligible to earn a yield on my deposits. It
          also explained the “Earn program is provided by FTX.US” – not FTX Trading. It also
          represented that “FTX Earn rewards are available for US users on a promotional basis.”

                  I recall the FTX Trading App’s default settings were automatically configured to
          enable the earning of yield. The application also contained a link for additional information
          about yield. I accessed the link and was redirected to a recent article published by “Blockfolio
          Rebecca” under help.blockfolio.com. The article began as follows:

                  You can now earn yield on your crypto purchases and deposits, as well as your
                  fiat balances, in your FTX Trading App! By opting in and participating in staking
                  your supported assets in your FTX account, you’ll be eligible to earn up to 8%
                  APY on your staked assets. THIS APY IS ESTIMATED AND NOT
                  GUARANTEED AS DESCRIBED BELOW.
                  The article also described the payment of yield. It contained a section titled How do
          you calculate APY? Does my balance compound daily? that read, in part, as follows:



   26
     Based upon information and belief, FTX Trading acquired Blockfolio LLC (“Blockfolio”) in or
   around August 2020. At the time, Blockfolio managed a cryptocurrency application. FTX Trading
   appears to have thereafter rebranded Blockfolio and its smartphone application as FTX. Now, users
   can download the FTX Trading App from Apple’s App Store or Google’s Google Play Store.
   Although FTX rebranded Blockfolio, the application listing in Apple’s App Store still shows the
   application with developed by Blockfolio.


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                          FTX will deposit yield earnings from the staked coins, calculated hourly,
                 on the investment portfolio that is stored in your FTX Trading App. Yield will be
                 compounded on principal and yield you have already earned. Any cryptocurrency
                 that you have deposited on FTX as well as any fiat balance you may have on your
                 account, will earn yield immediately after you have opted into the program.
                           The first $10,000 USD value in your deposit wallets will earn 8% APY.
                 Amounts held above $10,000 up to $10MM USD in value (subject to market
                 fluctuations) will earn 5% APY. In this scenario, your yield earned on the coins
                 will look something like the examples below the table.
                 The article also contained a section titled Is this available in my country? This section
         explained that “FTX Trading App Earn is available to FTX Trading App customers that are in
         one of the FTX permitted jurisdictions.” It contained a hyperlink to an article titled Location
         Restrictions published by FTX Crypto Derivatives Exchange under help.ftx.com. This article
         described various restrictions on operations in certain countries and locations and read in part
         as follows:

                           FTX does not onboard or provide services to corporate accounts of
                 entities located in, established in, or a resident of the United States of America,
                 Cuba, Crimea and Sevastopol, Luhansk People’s Republic, Donetsk People’s
                 Republic, Iran, Afghanistan, Syria, or North Korea. FTX also does not
                 onboard corporate accounts located in or a resident of Antigua or Barbuda. FTX
                 also does not onboard any users from Ontario, and FTX does not permit non-
                 professional investors from Hong Kong purchasing certain products.
                          FTX does not onboard or provide services to personal accounts of
                 current residents of the United States of America, Cuba, Crimea and
                 Sevastopol, Luhansk People’s Republic, Donetsk People’s Republic, Iran,
                 Afghanistan, Syria, North Korea, or Antigua and Barbuda. There may be
                 partial restrictions in other jurisdictions, potentially including Hong Kong,
                 Thailand, Malaysia, India and Canada. In addition, FTX does not onboard any
                 users from Ontario, does not permit non-professional investors from Hong Kong
                 purchasing certain products, and does not offer derivatives products to users from
                 Brazil.
                          FTX serves all Japanese residents via FTX Japan.
                 (emphasis in original)
                 Despite the fact I identified myself by name and address, the FTX Trading App now
         shows that I am earning yield on the ETH. The yield is valued at 8 percent APR.

                 Based upon my earning of yield and an ongoing investigation by the Enforcement
         Division of the Texas State Securities Board, the yield program appears to be an investment
         contract, evidence of indebtedness and note, and as such appears to be regulated as a security
         in Texas as provided by Section 4001.068 of the Texas Securities Act. At all times material to
         the opening of this FTX account, FTX Trading and FTX US have not been registered to offer
         or sell securities in Texas. FTX Trading and FTX US may therefore be violating Section
         4004.051 of the Texas Securities Act. Moreover, the yield program described herein has not



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         been registered or permitted for sale in Texas as generally required by Section 4003.001 of the
         Securities Act, and as such FTX Trading and FTX US may be violation Section 4003.001 by
         offering unregistered or unpermitted securities for sale in Texas. Finally, FTX Trading and FTX
         US may not be fully disclosing all known material facts to clients prior to opening accounts
         and earning yield, thereby possibly engaging in fraud and/or making offers containing
         statements that are materially misleading or otherwise likely to deceive the public. Certain
         principals of FTX Trading and FTX US may also be violating these statutes and disclosure
         requirements. Further investigation is necessary to conclude whether FTX Trading, FTX US
         and others are violating the Securities Act through the acts and practices described in this
         declaration.

                 The Enforcement Division of the Texas State Securities Board understands that FTX
         US placed the highest bid for assets of Voyager Digital LTD et al., a family of companies
         variously accused of misconduct in connection with the sale of securities similar to the yield
         program promoted by FTX Trading and FTX US. FTX US is managed by Sam Bankman-Fried
         (CEO and Founder), Gary Wang (CTO and Founder) and Nishad Singh (Head of Engineering).
         The same principals hold the same positions at FTX Trading, and I was able to access the yield-
         earning product after following a link to the FTX Trading App from FTX US’s website. The
         FTX Trading App also indicated the Earn program is provided by FTX US. As such, FTX US
         should not be permitted to purchase the assets of the debtor unless or until the Securities
         Commissioner has an opportunity to determine whether FTX US is complying with the law and
         related and/or affiliated companies, including companies commonly controlled by the same
         management, are complying with the law.

                 I hereby authorize the Texas Attorney General’s Office and any of its representatives
         to use this declaration in this bankruptcy proceeding.

                 I declare under penalty of perjury that the foregoing is true and correct.

                 Executed on October 14, 2022 in Austin, Texas.

                                                              /s Joseph Jason Rotunda

                                                              By: Joseph Jason Rotunda




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        C. The Defendants Aggressively Marketed the FTX Platform
           57.     In addition to the conduct of Sam Bankman-Fried, as described in this Complaint,
   some of the biggest names in sports and entertainment have been Brand Ambassadors for the
   company. A number of them hyped FTX directly to their social media fans, driving retail consumer
   adoption of the Deceptive FTX Platform.
           58.     In April 2021, FTX became the first company in the crypto industry to name an arena.
   This helped lend credibility and recognition to the FTX brand and gave the massive fanbase of
   basketball exposure to the Deceptive FTX Platform.
           59.     FTX’s explanation for using stars like Brady, O’Leary, and others was no secret.
   “We’re the newcomers to the scene,” said then-FTX.US President Brett Harrison, referring to the
   crypto services landscape in the U.S. “The company needs to familiarize consumers with its
   technology, customer service and offerings, while competing with incumbents like Coinbase Global
   Inc. or Kraken,” Mr. Harrison said. “We know that we had to embark on some kind of mass branding,
   advertising, sponsorship type work in order to be able to do that,” he said. 27
           60.     In other words, the FTX Entities needed celebrities like Defendants to continue
   funneling investors into the FTX Ponzi scheme, and to promote and substantially assist in the sale of
   the YBAs, which are unregistered securities. Below are representative statements and advertisements
   Defendants made to drive the offers and/or sales of the YBAs, which Plaintiffs will supplement as
   the case progresses and discovery unfolds.




   27
        https://www.wsj.com/articles/tom-brady-and-gisele-bundchen-to-star-in-20-million-campaign-
   for-crypto-exchange-11631116800?mod=article_inline (accessed December 5, 2022).


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                     Defendant Tom Brady




          61.     The star quarterback became an FTX ambassador last year. He also took an equity
   stake in FTX Trading Ltd.
          62.     Mr. Brady also joined the company’s $20-million ad campaign in 2021. They filmed a
   commercial called “FTX. You In?” showing him telling acquaintances to join the FTX platform. The
   ad can be viewed here: https://www.youtube.com/watch?v=uymLJoKFlW8
                     Defendant Kevin O’Leary




          63.     “Mr. Wonderful,” both a brand ambassador and an FTX shareholder, made several
   public statements designed to induce consumers to invest in the YBAs.




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          64.      “To find crypto investments opportunities that met my own rigorous standards of
   compliance, I entered into this relationship with @FTX_Official,” Mr. O’Leary said on Twitter last
   year. Mr. O’Leary recently deleted the tweet.
          65.      He also served as a judge for the FTX Charity Hackathon in Miami in March of 2022. 28
          66.      And very recently, on October 12, 2022, O’Leary stated confidently that FTX was
   totally compliant and a safe place to hold assets. O’Leary stated that: “I have to disclose I’m a paid
   spokesperson to a FTX and shareholder there, too, cause we mentioned him and I’m a big advocate
   for Sam because he has two parents who are compliance lawyers. If there’s ever a place I could be that
   I’m not gonna get in trouble it’s going to be in FTX so you know that’s there they’re great people but
   he gets the job in compliance which is why he’s working so hard to get regulation.” 29




          67.      He went on to state that “[t]here are a lot of signs right now that point to things looking
   bad. Crypto has taken a big hit and investors are wondering if things will turn around. If you follow
   history and the pattern of things, you know that this is RIGHT ON TRACK and we’ll soon see a
   resurgence with crypto. Do you think we’re entering a Bullish period? Let me know in the
   comments!” 30




   28
      https://ftxcharityhackathon.com/ (accessed December 5, 2022).
   29
      See https://www.youtube.com/watch?v=iwD_zWgyUz8 beginning at 17:32 (accessed December 5,
   2022)
   30
      Id.


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                      Defendant David Ortiz




          68.     Defendant David Ortiz, who became an FTX brand ambassador and hyped the YBAs
   in exchange for cryptocurrency and multiple collections of NFTs, also ran his own FTX “You In?”
   ad, which began running nationwide during the first game of the 2021 World Series.
          69.     In the ad, which can be found here: https://www.ispot.tv/ad/qSlm/ftx-big-papi-is-
   in, Ortiz is watching a game on the television when he receives a phone call from The Moon. Inspired
   by the “moonblast” home run scored on the field, The Moon frantically tells David about
   opportunities to get into cryptocurrency with FTX. David decides it's an offer he can't refuse and
   joins fellow sports stars Stephen Curry and Tom Brady on the platform. FTX announces it is the
   official crypto exchange of MLB.




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                                                  COUNT ONE
                              Violations of the Florida Statute Section 517.07,
                             The Florida Securities and Investor Protection Act
           70.      Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–69 above, as if
   fully set forth herein.
           71.      Section 517.07(1), Fla. Stat., provides that it is unlawful and a violation for any person
   to sell or offer to sell a security within the State of Florida unless the security is exempt under Fla.
   Stat. § 517.051, is sold in a transaction exempt under Fla. Stat. § 517.061, is a federally covered security,
   or is registered pursuant to Ch. 517, Fla. Stat.
           72.      Section 517.211 extends liability to any “director, officer, partner, or agent of or for
   the seller, if the director, officer, partner, or agent has personally participated or aided in making the
   sale, is jointly and severally liable to the purchaser in an action for rescission, if the purchaser still owns
   the security, or for damages, if the purchaser has sold the security.”
           73.      The YBA is a security pursuant to Fla. Stat. § 517.021(22)(a).
           74.      The YBAs sold and offered for sale to Plaintiffs was not:
                 a. exempt from registration under Fla. Stat. § 517.051;
                 b. a federal covered security;
                 c. registered with the Office of Financial Regulations (OFR); or
                 d. sold in a transaction exempt under Fla. Stat. § 517.061.
           75.      The FTX Entities sold and offered to sell the unregistered YBAs to Plainitff.
           76.      Defendants are directors, officers, partners and/or agents of the FTX Entities
   pursuant to Fla. Stat. § 517.211.
           77.      The FTX Entities, with Defendants’ material assistance, offered and sold the
   unregistered YBAs to Plaintiffs. As a result of this assistance, Defendants violated Fla. Stat. § 517.07
   et seq. and Plaintiffs sustained damages as herein described.




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                                                COUNT TWO

                 For Violations of the Florida Deceptive and Unfair Trade Practices Act,
                                     § 501.201, Florida Statutes, et seq.
           78.      Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–69 above, as if
   fully set forth herein.
           79.      This cause of action is brought pursuant to the Florida Deceptive and Unfair Trade
   Practices Act, section 501.201, Fla. Stat., et seq. (“FDUTPA”). The stated purpose of the FDUTPA is
   to “protect the consuming public . . . from those who engage in unfair methods of competition, or
   unconscionable, deceptive, or unfair acts or practices in the conduct of any trade or commerce.” §
   501.202(2), Fla. Stat.
           80.      Plaintiffs are each a consumer as defined by section 501.203, Fla. Stat. Defendants are
   engaged in trade or commerce within the meaning of the FDUTPA.
           81.      Florida Statute section 501.204(1) declares unlawful “[u]nfair methods of competition,
   unconscionable acts or practices, and unfair or deceptive acts or practices in the conduct of any trade
   or commerce.”
           82.      Defendants’ unfair and deceptive practices as described herein are objectively likely to
   mislead – and have misled – consumers acting reasonably in the circumstances.
           83.      Defendants have violated the FDUTPA by engaging in the unfair and deceptive
   practices as described herein, which offend public policies and are immoral, unethical, unscrupulous
   and injurious to consumers.
           84.      Plaintiffs have been aggrieved by Defendants’ unfair and deceptive practices and acts
   of false advertising by paying into the Ponzi scheme that was the Deceptive FTX Platform and in the
   amount of his lost investment.
           85.      The harm suffered by Plaintiffs was directly and proximately caused by the deceptive
   and unfair practices of Defendants, as more fully described herein.
           86.      Pursuant to sections 501.211(2) and 501.2105, Fla. Stat., Plaintiffs make claims for
   actual damages, attorneys’ fees and costs.
           87.      Defendants still utilize many of the deceptive acts and practices described above.
   Plaintiffs have suffered and will continue to suffer irreparable harm if Defendants continue to engage
   in such deceptive, unfair, and unreasonable practices. Section 501.211(1) entitles Plaintiffs to obtain
   both declaratory or injunctive relief to put an end to Defendants’ unfair and deceptive scheme.



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                                              COUNT THREE
                                               Civil Conspiracy
           88.      Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–69 above, as if
   fully set forth herein.
           89.      The FTX Entities and Defendants made numerous misrepresentations and omissions
   to Plaintiffs about the Deceptive FTX Platform in order to induce confidence and to drive consumers
   to invest in what was ultimately a Ponzi scheme, misleading customers and prospective customers
   with the false impression that any cryptocurrency assets held on the Deceptive FTX Platform were
   safe and were not being invested in unregistered securities.
           90.      The FTX Entities entered into one or more agreements with Defendants with the
   purpose of making these misrepresentations and/or omissions to induce Plaintiffs to invest in the
   YBAs and/or use the Deceptive FTX Platform.
           91.      Defendants engaged in unlawful acts with the FTX Entities, namely, the
   misrepresentations and omissions made to Plaintiffs and the sale of unregistered securities.
           92.      Defendants’ conspiracy substantially assisted or encouraged the wrongdoing
   conducted by the FTX Entities; further, Defendants had knowledge of such fraud and/or
   wrongdoing, because of their experience and relationship with the FTX Entities, as described above
   and as such, knew that the representations made to Plaintiffs were deceitful and fraudulent.
           93.      Defendants’ conspiracy with the FTX Entities to commit fraud caused damages to
   Plaintiffs in the amount of their lost investments.
                                               COUNT FOUR
                                           Declaratory Judgment
                     (Declaratory Judgment Act, Florida Statutes §§ 86.011 et seq .)
           94.      Plaintiffs reallege and incorporate by reference the allegations contained in paragraphs
   1–69 as if fully set forth herein.
           95.      This Count is asserted against Defendants under Florida Statutes §§ 86.011, et seq.
           96.      There is a bona fide, actual, present and practical need for the declaratory relief
   requested herein; the declaratory relief prayed for herein deal with a present, ascertained or
   ascertainable state of facts and a present controversy as to a state of facts; contractual and statutory
   duties and rights that are dependent upon the facts and the law applicable to the facts; the parties
   have an actual, present, adverse and antagonistic interest in the subject matter; and the antagonistic
   and adverse interests are all before the Court by proper process for final resolution.


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           97.     Plaintiffs have an obvious and significant interest in this lawsuit.
           98.     Plaintiffs each purchased a YBA, based in part on justifiable reliance on the
   Defendants’ misrepresentations and omissions regarding the Deceptive FTX Platform as further
   described hereinabove.
           99.     If the true facts had been known, including but not limited to that the YBAs are
   unregistered securities, the Deceptive FTX Platform does not work as represented, and Defendants
   were paid exorbitant sums of money to peddle Voyager to the nation, Plaintiffs would not have
   purchased a YBA in the first place.
           100.    Thus, there is a justiciable controversy over whether the YBA was sold illegally, and
   whether the Defendants illegally solicited their purchases from Plaintiff.
           101.    Plaintiffs seek an order declaring that the YBAs are securities required to be registered
   with the SEC and state regulatory authorities, that the Deceptive FTX Platform did not work as
   represented, and Defendants were paid exorbitant sums of money to peddle FTX to the nation.


                                          PRAYER FOR RELIEF
   WHEREFORE, Plaintiffs pray for a judgment:
           a.      Awarding actual, direct and compensatory damages;
           b.      Awarding restitution and disgorgement of revenues if warranted;
           c.      Awarding declaratory relief as permitted by law or equity, including declaring the
                   Defendants’ practices as set forth herein to be unlawful, and that the YBA offered and
                   sold to Plaintiffs—the same one offered and sold to millions of other Americans for
                   collectively billions of dollars—constituted an unregistered security;
           d.      Awarding injunctive relief as permitted by law or equity, including enjoining the
                   Defendants from continuing those unlawful practices as set forth herein, and directing
                   the Defendants to identify, with Court supervision, victims of their conduct and
                   pay them all money they are required to pay;
           e.      Awarding statutory and multiple damages, as appropriate;
           f.      Awarding attorneys’ fees and costs; and
           g.      Providing such further relief as may be just and proper.
                                      DEMAND FOR JURY TRIAL
           Plaintiffs hereby demand a jury trial as to all claims so triable.




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